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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:08CR175
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
SHELLY WEST,                                 )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion to continue sentencing

(Filing No. 189).

       The Defendant requests that sentencing be continued until after August 21, 2009,

to facilitate her attendance at a national conference of Moms off Meth and to allow her to

complete her bachelor’s degree in August 2009. Although the motion is denied, the Court

advises the Defendant that at sentencing she may request a self surrender date after

August 21, 2009.

       IT IS ORDERED that the Defendant’s motion to continue sentencing (Filing No. 189)

is denied.

       DATED this 20th day of April, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
